                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:07CR154-RJC


UNITED STATES OF AMERICA,                        )
                                                 )               FINAL ORDER AND
               v.                                )           JUDGMENT OF FORFEITURE
                                                 )
(2) KATHLEEN GIACOBBE                            )

       On August 20, 2009, this Court entered a Consent Order and Judgment of Forfeiture

pursuant to 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b), based upon the defendant’s conviction

on multiple counts in the bill of indictment, including conspiracy under 21 U.S.C. § 846.

       On August 28, 2009, through September 26, 2009, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 28, 2009, for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. The United States has submitted a proposed settlement with one potential third party.

The government and Option One Mortgage Corporation and its successor, American Home

Mortgage Servicing, Inc., (collectively, “Petitioner”) have alleged a mortgage of record filed on

the real property at 148 Abbey Road, Lyndon, Vermont, which is one of the properties listed in

the Consent Order and Judgment, and have settled all matters regarding the interest represented

and secured by that mortgage. The settlement is set forth in a Stipulated Expedited Settlement

Agreement (the “Settlement Agreement”) executed by the United States and Petitioner (the

“Parties”). Pursuant to the Settlement Agreement, the Parties have requested that the Court enter

a Final Order and Judgment of Forfeiture incorporating the Settlement Agreement to fully




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adjudicate and resolve all right, title and interest of the Parties in 148 Abbey Road as part of the

forfeiture herein.

       It is therefore ORDERED, ADJUDGED AND DECREED:

       1. That all right, title, and interest in the following property is hereby forfeited to the

       United States for disposition according to law:

               (a) real property known as Lot A5/125 Overlook Circle, St. Johnsbury,
               Vermont;

               (b) real property known as 148 Abbey Road, Lyndon, Vermont;

               (c) all funds in the following accounts at Community National Bank, Derby,
               Vermont:

                       (i) No. xxxxx1901 in the name of K&M Online Services Inc., dba Your
                       Online Doctor, consisting of approximately $16,370.27.

                       (ii) [deleted by order filed on November 17, 2009]

                       (iii) No. xxxxx0501 in the name of Kathleen Giacobbe, consisting of
                       approximately $4255.94.

                       (iv) No. xxxxx1418 in the name of Kathleen Giacobbe, consisting of
                       approximately $62.68.

       2. The Settlement Agreement between the Parties is incorporated herein. Pursuant to

       that agreement, Petitioner shall pay to the United States Marshals Service the sum of

       $10,000.00 for expenses relating to the preservation of 148 Abbey Road, Lyndon,

       Vermont, and the government shall quitclaim that property to Petitioner.



       Defendant has also been ordered to pay a money judgment of forfeiture for criminal

proceeds in the amount of $2 million. That money judgment is not affected by this order.




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                                 Signed: October 14, 2011




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